     Case 2:22-cv-12951-MAG-JJCG ECF No. 68, PageID.1005 Filed 06/06/23 Page 1 of 1
MIE (Rev.08/2020) Notice of Change of Address


                                                                                                     Clear Form
                                           UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF MICHIGAN


Babcock, et al.

                  Plaintiff(s),                          Case No. 2:22-cv-12951

v.                                                       Judge    Mark A. Goldsmith

State of Michigan, et al.
                  Defendant(s).
                                                     /


                                           NOTICE OF CHANGE OF ADDRESS

         Pursuant to Local Rule 11.2, I, Elizabeth K. Abdnour                          , notify the Court that my

address has changed as listed below:

                                                   Old Address

         Street Address: 1100 W. Saginaw St., Ste. 4A-2
         City, State, Zip Code: Lansing, MI 48915
         Phone Number: 517-292-0067
                                                   New Address

         Street Address: 500 E. Michigan Ave., Ste. 130
         City, State, Zip Code: Lansing, MI 48912
         Phone Number: 517-292-0067

Note: If you have more than one case, you must file a notice of change of address in each case.



Date: June 6, 2023                                       s/Elizabeth K. Abdnour
                                                         ____________________________________________
                                                         Signature
                                                         Elizabeth K. Abdnour
                                                         ____________________________________________
                                                         Printed Name
